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                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                               Lubbock Division


First Bank & Trust
Plaintiff
v.                                                             5:18-cv-00234-C
                                                               Civil Action No.
Reagor Auto Mall, Ltd, et al
Defendants


                        CERTIFICATE OF INTERESTED PERSONS
                               (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,
Rick Dykes



provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.
None




        A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.

Reagor-Dykes Motors, LP, Reagor-Dykes Imports, LP, Reagor-Dykes Amarillo, LP,
Reagor-Dykes Auto Company, LP, Reagor-Dykes Plainview, LP, Reagor-Dykes Floydada, LP,
Reagor-Dykes Auto Mall I, Ltd., Reagor-Dykes Auto Mall II, Ltd., Reagor-Dykes Auto Mall III,
Ltd., Reagor-Dykes Snyder LP, D&R Acquisitions, LLC, Tex-Fi Capital, LLC, RD7
Investments, LLC, RDM7, LLC
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                                                              Date:                 September 13 2018
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NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil/Other
Documents/Certificate of Interested Persons
